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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                     8:94CR73
                              )
          v.                  )
                              )
LARRY JONES,                  )                     ORDER
                              )
               Defendant.     )
______________________________)


          Pursuant to the memorandum opinion entered herein this

date,

          IT IS ORDERED that defendant’s motion for reduction of

sentence under 18 U.S.C. § 3582(c)(2) (Filing No. 144) is denied.

          DATED this 12th day of August, 2005.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
